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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK




ELIZABETH CHAN, et al.,

                          Plaintiffs,
               v.

UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,
                                           Case No. 1:23-cv-10365 (LJL)
                          Defendants.      Case No. 1:24-cv-01644 (LJL)




MICHAEL MULGREW, et al.,

                          Plaintiffs,
               v.

UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,

                          Defendants.




 MEMORANDUM OF LAW IN SUPPORT OF CROSS MOTIONS FOR SUMMARY
  JUDGMENT BY DEFENDANTS THE METROPOLITAN TRANSPORTATION
     AUTHORITY, THE TRAFFIC MOBILITY REVIEW BOARD, AND THE
 TRIBOROUGH BRIDGE AND TUNNEL AUTHORITY, AND IN OPPOSITION TO
          PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT
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                                    PRELIMINARY STATEMENT

        In their motion for summary judgment, Plaintiffs 1 demonstrate tenacity—but little else—

in yet another attempt to convince this Court to deploy the National Environmental Policy Act

(“NEPA”) to “stay experimentation” in the realm of transportation planning and prevent New York

State and City from trying a “novel social and economic experiment[] without risk to the rest of

the country,” in the form of congestion pricing. Mulgrew v. U.S. Dep’t of Transp., No. 24 Civ.

1644, 2024 WL 3251732, at *25 n.21 (S.D.N.Y. June 20, 2024) (Liman, J.) (citing New State Ice

Co. v. Liebmann, 285 U.S. 262, 311 (1932) (Brandeis, J., dissenting)). Plaintiffs’ arguments boil

down to: (1) relitigation of their prior unsuccessful challenges; (2) inchoate complaints about

insignificant project changes bearing no relationship to environmental impacts; and (3) disavowal

of the very approach they previously advocated for on their first bite at the apple, namely, a phase-

in of tolling. None of their arguments point to any reason this Court should require yet more

environmental review of a program that has been subjected to five years of scrutiny.

        At some point, iterative environmental review must end, lest “agency decisionmaking”

become “intractable, always awaiting updated information only to find the new information

outdated by the time a decision is made.” Marsh v. Oregon Nat. Res. Council, 490 U.S. 360, 373

(1989). That point has been reached. The Federal Highway Administration (“FHWA”) conducted

the “granular assessment[]” of the adopted tolling structure contemplated by the Finding of No

Significant Impact (“FONSI”), Mulgrew, 2024 WL 3251732, at *29, and properly determined no

further review was warranted.



1
  “Plaintiffs” refers to the plaintiffs in Chan v. U.S. Department of Transportation, No. 23 Civ. 10365 (S.D.N.Y.)
(“Chan”) and Mulgrew v. U.S. Department of Transportation, No. 24 Civ. 1644 (S.D.N.Y.) (“Mulgrew”). “Pl. Br.”
refers to Plaintiffs’ identical memoranda of law in support of their motions for summary judgment filed in Chan at
ECF 136 and Mulgrew at ECF 124. This memorandum also refers to New Yorkers Against Congestion Pricing Tax
v. U.S. Department of Transportation, No. 24 Civ. 367 (S.D.N.Y.) (“New Yorkers”).



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        This Court recognized that FHWA conducted a comprehensive environmental assessment

(“EA”) of the Central Business District (“CBD”) Tolling Program (the “Program”) under NEPA,

with assistance from the three Project Sponsors: the Triborough Bridge and Tunnel Authority

(“TBTA”), 2 the New York State Department of Transportation, and the New York City

Department of Transportation. Over five years, FHWA and the Project Sponsors consulted with

federal, regional, state, and local agencies; held multiple public outreach meetings; and considered

and responded to tens of thousands of comments before issuing the 958-page final EA with 32,543

pages of appendices. FHWA’s FONSI determined that the Program, including mitigation, would

not have a significant adverse impact on the environment and would not have a disproportionately

high and adverse impact on environmental justice (“EJ”) communities or populations.

        In June 2024, this Court upheld the EA and FONSI, concluding that “[b]ased on the FHWA

and Project Sponsors’ painstaking examination of Congestion Pricing’s environmental

impacts…the FHWA ‘has made the careful consideration and disclosure required by NEPA’…in

a manner that was neither arbitrary nor capricious.” Mulgrew, 2024 WL 3251732, at *19 (citation

omitted). The Court specifically rejected Plaintiffs’ “contrive[d]…portrait” of the Program’s EJ

mitigation measures as a “picture [that] bears little resemblance to the reality of the Project

Sponsors’ commitments,” id. at *44, recognizing that the EA’s EJ analysis “displayed both careful

consideration and a deep commitment among the FHWA, EPA, and Project Sponsors alike not to

repeat the dismal chapters of New York City’s transportation history,” id. at *38. These holdings

preclude Plaintiffs from recycling their prior rejected arguments. Two subsequent reevaluations—

in June 2024 (“Reevaluation 1”) and November 2024 (“Reevaluation 2”)—analyzed the toll



2
  TBTA is an affiliate agency of the Metropolitan Transportation Authority (the “MTA”), a public benefit corporation
responsible for North America’s largest transportation network, serving 15.3 million people across 5,000 square miles
in New York City, Long Island, Southeastern New York, Northeastern New Jersey, and Southern Connecticut.



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structure that had been adopted by the TBTA Board in March 2024 (the “March 2024 adopted toll

structure”) and a subsequent approach in November 2024 whereby those toll rates would be phased

in gradually over the first several years of the Program (the “Phase-In Approach”).            Each

reevaluation reaffirmed that the Program’s effects will be consistent with those discussed in the

EA, and that the mitigation commitments set forth in the FONSI remain valid.

       The only issues properly before the Court are whether the reevaluations complied with

NEPA’s hard look standard and if FHWA’s determination that the FONSI remained valid was

arbitrary and capricious. See Mulgrew, 2024 WL 3251732, at *12 (articulating standard). While

Plaintiffs point to differences between the adopted toll structure and certain characteristics of the

multiple scenarios evaluated in the EA, they fail to meet the fundamental requirement to show that

a supplemental EA was required because of unstudied significant environmental impacts.

Therefore, summary judgment should be granted to Defendants.

                                   STATEMENT OF FACTS

       Supplementing this Court’s discussion of the factual background as of Mulgrew, 2024 WL

3251732, at *1–7, below is a brief overview of FHWA’s NEPA review and the two reevaluations.

       On July 29, 2022, after more than a year of collaboration with federal, state and local

agencies, an extensive public outreach campaign, and input from EJ groups, FHWA and the Project

Sponsors published an 868-page draft EA, along with thousands of pages of appendices, for public

comment. See id. at *5. The draft EA began by underscoring the severity of congestion in the

CBD, describing the need for improvements to the region’s public transportation network, and

defining the Program’s goals and objectives, including: reducing daily vehicle-miles traveled

(“VMT”) within the CBD; reducing the daily number of vehicles entering the CBD; and creating

a funding source sufficient to raise $15 billion for the MTA’s Capital Program. Id. After

considering twelve potential alternatives to congestion pricing but determining that they would not


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satisfy the Program’s objectives, the draft EA evaluated a congestion pricing program compared

to a “No Action” alternative, as required by NEPA. Id.

           Because the final tolling structure was not yet defined, and to assist the Traffic Mobility

Review Board (the “TMRB”) and the TBTA Board in evaluating the potential impacts of various

tolling options, the EA analyzed seven tolling scenarios employing different variables, using the

New York Metropolitan Transportation Council’s Best Practice Model (“BPM”) to predict

changes in regional travel demand and patterns for all scenarios. (DOT_0036328, DOT_0036343,

DOT_0036340.) 3 The draft EA analyzed the potential impacts of the Program—including on

traffic, public transit, economic conditions, and air quality—considering “the ‘worst-case tolling

scenario’ for the relevant impact as a conservative measure of potential harm.” Mulgrew, 2024

WL 3251732, at *6. “Based on these analyses, the draft EA concluded that Congestion Pricing

would result in ‘beneficial or no adverse effects’ for most of the factors considered and that any

adverse effects as to the remaining factors could be effectively mitigated, such that Congestion

Pricing would not have a significant environmental impact.” Id. During the draft EA’s 56-day

public comment period, FHWA and the Project Sponsors held six virtual hearings and collected

tens of thousands of comments. Id. at *46.

           In May 2023, FHWA approved the final EA (DOT_0036153), which included an expanded

analysis of potential effects on EJ populations and communities, including the potential effect of

traffic diversions (taken to avoid tolling) on local air quality. (DOT_0036989–96, DOT_0006963–

82, DOT_0007243–440.)

           Based on the final EA, FHWA approved the issuance of a draft FONSI, which determined

that the Program would not have a significant adverse impact on the human or natural environment.


3
    References to the administrative record cite to the Bates number of the relevant page(s).



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(DOT_0000363.) On June 23, 2023, after a period of public availability of the final EA and draft

FONSI, FHWA’s New York Division Administrator signed the FONSI. (DOT_0000393.) In

accordance with FHWA’s regulations, the FONSI committed to reevaluate the tolling structure

ultimately adopted by TBTA, requiring that “TBTA demonstrate to FHWA that the effects of the

final tolling rates and structure are consistent with the effects disclosed in the Final EA and that

the mitigation is still valid.” (DOT_0000394.)

        On March 27, 2024, based on the recommendations of the independent TMRB and

informed by the EA, the TBTA Board adopted a toll rate schedule through a formal ratemaking

process under the New York State Administrative Procedure Act (“SAPA”). Reevaluation 1

assessed the effects of the adopted toll structure; it was prepared in consultation with FHWA (via

submission of interim drafts) and submitted for final review on May 23, 2024.                            (See

DOT_0047124–90, DOT_0047399.) On June 5, 2024, several weeks before the Program’s

scheduled start, Governor Hochul announced a pause of its implementation, citing cost concerns. 4

The Project Sponsors asked FHWA to proceed with the reevaluation process, and on June 14,

2024, FHWA concluded that the adopted toll structure and associated impacts were analyzed and

mitigated appropriately under NEPA, that no additional environmental analysis was warranted,

and that the conclusions in the EA and FONSI remained valid.                           (DOT_0047520–21,

DOT_0047539.) 5 Reevaluation 1 concluded that “[i]n every category, the effects are consistent

with those predicted in the Final EA,” and that, “importantly, some of the adverse effects no longer

occur and many are on the lower end of those disclosed in the Final EA.” (DOT_0045437.)



4
 Press Release, Gov. Kathy Hochul, Governor Hochul Announces Pause on Congestion Pricing to Address the Rising
Cost of Living in New York (June 5, 2024), https://www.governor.ny.gov/news/what-they-are-saying-governor-
hochul-announces-pause-congestion-pricing-address-rising-cost.
5
 Reevaluation 1 was published on the MTA’s website on June 21, 2024. See MTA, Re-Evaluation (updated June 21,
2024), https://new.mta.info/project/CBDTP/reevaluation.



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        On June 20, 2024, this Court issued its opinion and order (1) dismissing certain claims in

New Yorkers and Mulgrew, including dismissing their NEPA challenges as time-barred, (2)

granting summary judgment in favor of Defendants on the challenge to the FONSI in Chan, and

(3) deferring a decision on Plaintiffs’ Count II (failure-to-supplement). See Mulgrew, 2024 WL

3251732, at *46–47. The Court held that “FHWA’s thorough analysis and exhaustive review

process” made it “‘abundantly clear that [the agency] took a hard look at the environmental

consequences’” of the Program and that “Plaintiffs’ NEPA challenge to the EA and FONSI is at

bottom a policy disagreement with the wisdom of Congestion Pricing.” Id. at *46 (quoting Friends

of Animals v. Romero, 948 F.3d 579, 588 (2d Cir. 2020)).

        On November 14, 2024, Governor Hochul announced a proposal to lift the pause and

proceed with the Phase-In Approach. 6 Under this approach, the Program would be implemented

in three steps, culminating with the March 2024 adopted toll structure. (DOT_0047532–38.) The

interim steps would have tolls for each vehicle class and time of day, as well as tunnel crossing

credits, proportionally reduced from the corresponding values in the March 2024 adopted toll

structure. (Id.) The proportional reductions would result in values for Phase I (2025, 2026, and

2027) equaling 60% of the corresponding values for the March 2024 adopted toll structure (e.g., a

$9 peak EZPass automobile rate instead of $15). (Id.) For Phase 2 (2028, 2029, and 2030), the

tolls and credits would equal 80% of the March 2024 adopted toll structure values (e.g., a $12 peak

EZPass automobile rate instead of $15). (Id.) The March 2024 adopted toll structure values would

come into full effect in 2031 (e.g., the $15 peak EZPass automobile rate). (Id.)

        On November 13, 2024, the Project Sponsors sent FHWA a draft of Reevaluation 2,


6
 See Press Release, Gov. Kathy Hochul, Putting Commuters First, Keeping Costs Down: Governor Hochul Unveils
Plan for Future of Transit and Traffic in New York City, Including a 40 Percent Reduction in Congestion Pricing
Tolls (Nov. 14, 2024), https://www.governor.ny.gov/news/putting-commuters-first-keeping-costs-down-governor-
hochul-unveils-plans-future-transit-and.



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prepared consistent with FHWA’s regulations, to assess the Phase-In Approach. (DOT_0047540–

48.) Reevaluation 2 confirms that under the Phase-In Approach, the Project Sponsors will still

implement all mitigation commitments, including for EJ communities, within the same timeframes

as contemplated in the EA and FONSI. (Id.) On November 18, 2024, the TBTA Board formally

adopted the Phase-In Approach to the toll rate schedule under SAPA. Reevaluation 2 also

confirmed that the Phase-In Approach would achieve the Program’s objectives of reducing VMT

by 5%, reducing entries to the CBD by 10%, and raising sufficient revenue to finance $15 billion

for the MTA’s Capital Program. (Although revenues would be lower in the first two phases, in

combination, the projected revenues from the Phase-In Approach would allow $15 billion in

capital projects to be bonded on the same time frame as for the March 2024 adopted toll structure.)

          On November 21, 2024, FHWA approved Reevaluation 2, concluding that the effects of

the Program were consistent with those disclosed in the EA, that “the phase-in of the adopted toll

structure and impacts associated with it was analyzed and mitigated accordingly,” and “that no

additional environmental analysis is warranted.” (DOT_0047520–39.) That same day, FHWA

and the Project Sponsors signed an agreement under the Value Pricing Pilot Program (the “VPPP”)

authorizing the Program’s collection of tolls and requiring (among other things) implementation

of the mitigation commitments made in the FONSI. 7

                                           LEGAL STANDARD

          In the instant motion, Plaintiffs argue that FHWA’s decision not to prepare a supplemental

EA must be annulled. “NEPA is a procedural statute that mandates a process rather than a

particular result.” Stewart Park & Reserve Coal., Inc. v. Slater, 352 F.3d 545, 557 (2d Cir. 2003);

see also Mulgrew, 2024 WL 3251732, at *46 (“NEPA itself does not mandate particular results,


7
    VPPP Agreement (Nov. 21, 2024), https://new.mta.info/project/CBDTP/reevaluation2-and-vppp-agreement.



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but simply prescribes the necessary process” (quoting Robertson v. Methow Valley Citizens

Council, 490 U.S. 332, 350 (1989))). “The only role for a court is to [ensure] that the agency has

taken a ‘hard look’ at environmental consequences; it cannot ‘interject itself within the area of

discretion of the executive as to the choice of the action to be taken.’” Kleppe v. Sierra Club, 427

U.S. 390, 410 n.21 (1976) (quoting NRDC v. Morton, 458 F.2d 827, 838 (D.C. Cir. 1972)).

       Courts review an agency’s compliance with NEPA, including an agency’s decision as to

whether supplemental environmental review is needed, under the Administrative Procedure Act’s

“arbitrary and capricious” standard. Marsh, 490 U.S. at 375–76. In the Second Circuit: “First, the

court must ask whether the agency took a ‘hard look’ at the possible effects of the proposed action.

Second, if such a ‘hard look’ has been taken, the court must ask ‘whether the agency’s decision

was arbitrary or capricious.’” Vill. of Grand View v. Skinner, 947 F.2d 651, 657 (2d Cir. 1991).

       Whether to prepare a supplement “is a classic example of a factual dispute the resolution

of which implicates substantial agency expertise.” Marsh, 490 U.S. at 376–77. “Because analysis

of the relevant documents ‘requires a high level of technical expertise,’ [courts] must defer to ‘the

informed discretion of the responsible federal agencies.’” Id. at 377 (quoting Kleppe, 427 U.S. at

412); see also Baltimore Gas & Elec. Co. v. NRDC, Inc., 462 U.S. 87, 103 (1983) (“When

examining this kind of scientific determination . . . a reviewing court must generally be at its most

deferential.”). A court “must consider whether the decision was based on a consideration of the

relevant factors and whether there has been a clear error of judgment.” Citizens to Preserve

Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971). Although this inquiry must “be searching

and careful,” “the ultimate standard of review is a narrow one.” Id. Consistent with NEPA’s focus

on environmental impacts, whether a supplement is required depends on whether project changes

“will ‘affec[t] the quality of the human environment’ in a significant manner or to a significant




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extent not already considered.” Marsh, 490 U.S. at 374 (quoting 42 U.S.C. § 4332(2)(C)); see

also 23 C.F.R. § 771.130.

       In deciding whether to prepare a supplement, agencies must “apply a ‘rule of reason.’”

Marsh, 490 U.S. at 373. A supplement is not required “every time new information comes to light

after the” initial environmental review is complete. Id. As the Ninth Circuit observed in upholding

FHWA’s reevaluation process, to require a more searching reevaluation or a supplement in every

case “would task the agencies with a sisyphean feat of forever starting over in their environmental

evaluations, regardless of the usefulness of such efforts.” Price Rd. Neighborhood Ass’n, Inc. v.

U.S. Dep’t of Transp., 113 F.3d 1505, 1510 (9th Cir. 1997). A supplement “must be prepared only

where new information provides a seriously different picture of the environmental landscape.”

Friends of Cap. Crescent Trail v. Fed. Transit Admin., 877 F.3d 1051, 1060 (D.C. Cir. 2017)

(emphasis in original). It is Plaintiffs’ burden to “show the action is arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.” Missouri ex rel. Bailey v. U.S. Dep’t of

Interior, 73 F.4th 570, 576 (8th Cir. 2023). They have not met that burden.

                                           ARGUMENT

      I.   FHWA COMPLIED WITH NEPA

           A.      The Reevaluation Procedure Complied With NEPA

       The reevaluations used to evaluate the continuing validity of the FONSI in light of the

adopted toll structure and Phase-In Approach complied with FHWA’s NEPA regulations. Those

regulations require that the agency “determine, prior to granting any new approval related to an

action or amending any previously approved aspect of an action, including mitigation

commitments, whether an approved environmental document remains valid.”                    23 C.F.R.

§ 771.129. Only if the environmental documents—here, the EA and FONSI—are no longer valid,

must the agency prepare a supplemental EA or EIS. Id. § 771.130.


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       This Court and others have uniformly upheld FHWA’s reevaluation procedure as

consistent with NEPA. See Price Rd. Neighborhood Ass’n, Inc., 113 F.3d at 1509 (“[A]n

environmental reevaluation is an appropriate procedure for the FHWA to determine the

significance of the impacts produced by the modified design and whether a supplemental EA is

required.”); see also No Mid-Currituck Bridge-Concerned Citizens v. N. Carolina Dep’t of

Transp., 60 F.4th 794, 805 (4th Cir. 2023); S. Trenton Residents Against 29 v. FHWA, 176 F.3d

658, 663 (3d Cir. 1999); Mulgrew, 2024 WL 3251732, at *29. Moreover, reevaluations need not

replicate the same analyses conducted in the initial environmental review.          See 40 C.F.R.

§ 1501.11(b) (explaining that an agency “may employ tiering” to “eliminate repetitive discussions

of the same issues, focus on the actual issues ripe for decision, and exclude from consideration

issues already decided”); 23 C.F.R. § 771.107; cf. 40 C.F.R. § 1501.11(c).

       This Court has already affirmed FHWA’s use of the tiering/reevaluation model, holding

that “[m]ulti-step NEPA reviews” like this one “are not only lawful, but also salutary.” Mulgrew,

2024 WL 3251732, at *29. The EA analyzed seven tolling scenarios varying by toll rates,

exemptions, crossing credits, and discounts, with peak EZPass toll rates ranging from $9 to $23

for automobiles (and other ranges for small and large trucks (DOT_0036750)), and quantitatively

analyzing representative worst-case scenarios for each analysis area. (DOT_0037262–66.) This

process “enabled the TMRB and TBTA to benefit from the federal government’s environmental

expertise in crafting a suitable tolling schedule” while also providing “TBTA with flexibility going

forward” to “adjust the final tolling structure within the bounds of the EA’s tolling scenarios—

including by reducing toll rates—without restarting the arduous NEPA review process.” Mulgrew,

2024 WL 3251732, at *29 (emphasis in original). Plaintiffs cannot relitigate the propriety of this

approach. See United States v. Quintieri, 306 F.3d 1217, 1225 (2d Cir. 2002); cf. Mulgrew, 2024




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WL 3251732, at *16 (holding reevaluation did not reopen prior NEPA review). 8 Plaintiffs have

not even attempted satisfy the standard for setting aside the law of the case.

           In effect, Plaintiffs challenge the legitimacy of FHWA’s Court-sanctioned reevaluation

procedure by arguing that any project change or refinement requires supplementation to allow for

another round of public participation on the specific effects of the change. (Pl. Br. 1–6.) Plaintiffs

offer no legal support for that proposition, which is contrary to law.

           Indeed, FHWA issues approximately 3,000 reevaluations per year. 9 To date, not a single

court has held that a reevaluation was invalid due to a lack of public participation. Rather, courts

have specifically rejected claims that FHWA’s reevaluation process, which does not require a

public comment period, runs afoul of NEPA’s public participation requirements. See Price Rd.

Neighborhood Ass’n, Inc., 113 F.3d at 1510 (rejecting argument that lack of public comment on

reevaluation conducted by FHWA “violated explicit statutory and regulatory public participation

requirements”); see also No Mid-Currituck Bridge-Concerned Citizens, 60 F.4th at 799 (affirming

reevaluation under § 771.129 that was done “[w]ithout soliciting further public input”). FHWA’s

reevaluation guidance specifically does not require the agency to hold an additional public

comment period on a reevaluation. 10

           Plaintiffs decry the reevaluations as the product of a “back-room political pact” with “no


8
  Plaintiffs’ reliance on Piedmont Environment Council v. U.S. Department of Transportation, 159 F. Supp. 2d 260,
265 (W.D. Va. 2001), aff’d in part, remanded in part, 58 F. App’x 20 (4th Cir. 2003), fails. That case held that a
reevaluation could not be used to analyze issues—there, a “bypass project’s effects on [a water reservoir] and the
mitigation efforts in place to address those impacts”—that “should have been included” in the original EIS and EA.
Id. at 279. Piedmont has no bearing on this case because this Court has already affirmed FHWA’s decision to tier its
environmental review of the Program and the sufficiency of the EA and FONSI. Mulgrew, 2024 WL 3251732, at *29.
9
    See FHWA Report (ECF 152-1), New Jersey v. U.S. Dep’t of Transp., No. 23 Civ. 03885 (D.N.J.).
10
   See NEPA Re-Evaluation Joint Guidance for Federal Highway Administration (FHWA), Federal Railroad
Administration     (FRA),      &     Federal    Transit    Administration    (FTA)      3    (Aug.     14,   2019),
https://www.environment.fhwa.dot.gov/legislation/nepa/reevaluation_guidance_08142019.pdf (explaining that
revaluations generally do not require public involvement” unless required by other legal provisions or where the
agency, in consultation with the project sponsor, determines “that some form of public involvement is appropriate”).



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public input whatsoever.” (Pl. Br. 5–6.) But again, further public comment was not necessary,

and in any event, Plaintiffs fail to identify any methodological challenges they would have raised

in a public comment period for either reevaluation. Indeed, in their prior briefing in this matter,

Plaintiffs actually supported a phase-in approach to the Program. (Chan, ECF 54-1, at 43–44.) 11

The process here allowed parties to submit comments on the environmental analysis in the draft

and final EA, and on toll rates under the SAPA process. Mulgrew, 2024 WL 3251732, at *29.

The adopted toll rates, including their phase in, are generally within the range of scenarios already

analyzed in the EA, which this Court noted were “subject to extensive public scrutiny and input.”

Id. at *46. Moreover, the differences between the EA scenarios and the adopted toll structure—

discounted off peak hours, and per-ride taxi and FHV tolls—were the subject of and informed by

public comment during the EA process. (See DOT_0009409, DOT_0003633–34.) 12

              B. FHWA Took a Hard Look at the Adopted Toll Structure and Phase-In
                 Approach

              1. The Reevaluations Thoroughly Analyzed the Adopted Toll Structure’s Impacts

         First, as contemplated by the FONSI and in light of slight differences between the adopted

tolling structure and the EA scenarios, FHWA reevaluated the adopted tolling structure. Contrary

to Plaintiffs’ assertions that these aspects of the adopted toll structure were not modeled (Pl. Br.

12, 27), Reevaluation 1 is crystal clear in describing the detailed modeling that was completed, as

summarized further below. Reevaluation 1 applied the same methodologies this Court previously


11
  A plaintiff’s participation claims are actionable only to the extent the lack of participation prevented the lead agency
from taking a “hard look” at the relevant areas of environmental concern. Coal. for Healthy Ports v. U.S. Coast
Guard, No. 13 Civ. 5347, 2015 WL 7460018, at *15 (S.D.N.Y. Nov. 24, 2015). Because Plaintiffs’ claims of
deficiencies in the Reevaluation must fail, Plaintiffs must lose on this claim as well.
12
   Contrary to Plaintiffs’ suggestion, California v. Block, 690 F.2d 753, 772 (9th Cir. 1982), did not require a
supplement where changes in the final iteration of a project “seriously dilute[]” the relevance of the prior comment
period. Rather, the court there held, unremarkably, that the proposed project and its environmental impacts changed
so substantially between the draft and final EIS that a supplement was needed. Even if this differed from the standard
articulated here, the Ninth Circuit’s decision in Block was based on a CEQ guidance document that is no longer in
effect, and it predates the Supreme Court’s articulation of the standard in Marsh, 490 U.S. at 374.



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affirmed as a “painstaking examination of Congestion Pricing’s environmental impacts.”

Mulgrew, 2024 WL 3251732, at *19, *28–44. (Plaintiffs also acknowledge this, while continuing

to litigate the already-decided rationality of the methodology. (See, e.g., Pl. Br. 11.)) Reevaluation

2 then assessed whether the Phase-In Approach would change the conclusion of Reevaluation 1

and determined it would not. Although Plaintiffs continue to claim that the Program will adversely

affect traffic, air quality, and EJ communities based on assertions the Court already rejected (id. at

17–19, 25–28), the reevaluations concluded that either no adverse effects would result, or they

would be sufficiently mitigated as provided in the FONSI. (DOT_0045624, DOT_0047539.)

               a. Modeling Showed That Impacts on Traffic and Air Quality Were Within the
                  Range of Impacts Studied in the EA

       Reevaluation 1 “[m]odeled the adopted toll structure using the same version of the BPM

as was used for the Final EA,” the results of which were used to reevaluate “the full range of topics

from the Final EA.” (DOT_0045477.) The modeling demonstrated “that the adopted toll

structure’s effects on regional transportation patterns would be within the range of effects of the

tolling structures studied in the EA,” would reduce “the number of vehicles entering the [CBD] by

approximately 17%,” and would reduce VMT in the CBD by 8.9%, both of which met the

objectives set forth in the EA. (DOT_0045478–79.)

       FHWA also used the same modeling techniques from the EA to evaluate the impacts of the

adopted toll structure on highways and local intersections. (DOT_0045480–86.) Modeling

showed that that the adopted toll structure would yield lower traffic volumes at the most impacted

highway segments compared to the volumes predicted in the EA and would not have additional

adverse effects on any new segments. (DOT_0045480–83, DOT_0045486.) Reevaluation 1

similarly found that the adopted toll structure would reduce local intersection traffic compared to

the results in the EA at the 102 local intersections identified as the most likely to experience


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increases in traffic under various scenarios.           (DOT_0036478–79, DOT_0036494–96,

DOT_0045481–86.) Thus, FHWA concluded that the effect on local intersections was “within the

range evaluated in the Final EA and no new adverse effects would occur.” (DOT_0045486.)

       Reevaluation 1 took a similar approach to analyzing air quality. See Mulgrew, 2024 WL

3251732, at *32–38. It used EPA’s latest emissions model—known as “MOVES3.1”—to analyze

the adopted toll structure’s impact on air emissions across the 12-county study area.

(DOT_0045536–43.) The modeling showed that although certain counties could see small

variations in county-wide emissions, the “adopted toll structure would benefit regional air quality

by reducing criteria pollutants, [mobile source air toxins], and [greenhouse gases] overall in the

12-county study area.” (DOT_0045538.) The modeling predicted that benefits from reductions

in VMT and air emissions would be greater than those projected in the EA. (DOT_0045541.)

       Reevaluation 1 used the EA methodology to evaluate potential effects from carbon

monoxide and particulate matter at the 102 intersections described above. (DOT_0036859–60,

DOT_0045536–37.)        All 102 locations fell below the applicable screening thresholds,

demonstrating that the Program “would not create any new or worsen any existing violation” “or

delay timely attainment” of air quality standards.          (DOT_0036859–63, DOT_0036868,

DOT_0045544–48.) FHWA also updated its “highway link” analysis to evaluate the effect of

traffic diversions on local air quality near highway segments. (DOT_0045549–54.) The modeling

showed that either traffic volumes would be lower, or in one case where average daily traffic would

be slightly greater, Program-related diversions would not result in exceedances of National

Ambient Air Quality Standards, which are set by EPA with “an adequate margin of safety … to

protect public health.” 42 U.S.C. § 7409(b)(1); (DOT_0045549–54). FHWA therefore concluded

that the “analysis for the adopted toll structure demonstrates that there are no potential adverse




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effects related to air quality and the conclusions of the Final EA remain valid.” (DOT_0045552.)

                 b. The Reevaluation Refined the EA’s EJ Assessment

        Reevaluation 1 “used the same methodology as the EA in considering local (neighborhood)

and regional effects of the adopted toll structure” on EJ communities. (DOT_0045568.) 13 The

EA evaluated potential impacts on EJ communities by first identifying a “10-county local study

area…where the greatest change in traffic volumes and vehicle-miles traveled are predicted to

occur.” (DOT_0036958–59.) It then used conservative and inclusive metrics to identify low-

income and minority communities at the census tract level. (DOT_0006969–81.)

        The EA analyzed traffic diversions in EJ communities by modeling the worst-case tolling

scenarios for truck and non-truck traffic, respectively, to identify any EJ community facing high

preexisting air quality or chronic health burdens that could experience even the smallest increase

in pollution. (DOT_0036981–96, DOT_0006963–82, DOT_0007243–440.) The EA used this

analysis to develop a robust, $155 million package of regional and place-based mitigation to avoid

and mitigate adverse effects on overburdened EJ communities.                              (DOT_0007283–312,

DOT_007322–28.) The EA identified so-called “90 or 90” census tracts—i.e., “tracts where

individuals experience at least one pre-existing pollutant burden or at least one pre-existing chronic

disease burden at or above the 90th percentile, nationally”—that were projected to see any increase

in truck traffic proximity, and found that these areas would benefit from regional mitigation.




13
   “The principle of environmental justice encourages agencies to consider whether the projects they sanction will
have a ‘disproportionately high and adverse’ impact on low-income and predominantly minority communities.”
Sierra Club v. FERC, 867 F.3d 1357, 1368 (D.C. Cir. 2017) (quoting E.O. 12,898). When reviewing an agency’s
analysis of EJ issues, an EA’s methodology must be “reasonable and adequately explained,” but the agency’s “choice
among reasonable analytical methodologies is entitled to deference.” Communities Against Runway Expansion, Inc.
v. F.A.A., 355 F.3d 678, 689 (D.C. Cir. 2004); Coliseum Square Ass’n, Inc. v. Jackson, 465 F.3d 215, 233 (5th Cir.
2006). “As always with NEPA, an agency is not required to select the course of action that best serves environmental
justice, only to take a ‘hard look’ at environmental justice issues.” Sierra Club, 867 F.3d at 1368.


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(DOT_0045575–76.) 14 So-called “90 and 90” census tracts—i.e., “tracts where individuals

experience at least one pre-existing pollutant burden and at least one pre-existing chronic disease

burden at or above the 90th percentile, nationally”—that were projected to see any increase in

truck traffic proximity were identified for place-based mitigation. (Id.)

         Using the “same methodology,” Reevaluation 1 determined that the adopted toll structure

would reduce diversionary impacts on EJ communities compared to the EA. (DOT_0045574–81.)

Modeling showed that “the number of census tracts affected by an increase in truck traffic

proximity . . . would be more evenly distributed between non-[EJ]-designated tracts . . . and [EJ]-

designated tracts.” (DOT_0045576–77.) In addition, modeling showed that the total “number of

affected [EJ]-designated tracts would be lower than in the Final EA,” and that “[t]he adopted toll

structure would have lower intensities of truck-traffic proximity increases” in communities facing

high pre-existing pollutant and health burdens. (DOT_0045577–81.)

         Reevaluation 1 used the EA methodology to identify census tracts that warranted regional

and place-based mitigation measures under the adopted tolling structure. Although modeling

showed slight variations in the census tracts that would warrant mitigation, the analysis

“confirm[ed] that the same communities would be affected as predicted in the Final EA.”

(DOT_0045582–97.) While Plaintiffs continue to claim that the mitigation program is “still not

developed with any specificity” (Pl. Br. 11), FHWA and the Project Sponsors built on the analysis

this Court affirmed by allocating funding for place-based mitigation based on each community’s

“share of population in all affected” census tracts. (DOT_0045608–11.) The use of population

share ensures that each potentially impacted community receives an equitable share of place-based


14
  “Highway truck traffic proximity was a particular focus, because diesel emissions have a higher level of particulate
matter, which is associated with adverse health outcomes, and because Program-related diversions would mainly occur
on highways.” (DOT_0045575.) Traffic proximity is a distance-weighted measure that provides a way to describe a
census tract’s exposure to highway traffic from all directions. (DOT_0007266–71, DOT_0007292.)



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mitigation funding, in addition to sharing in the benefits of regional mitigation. (Id.) This $100

million place-based mitigation program “will provide direct emissions reductions and air quality

improvements, and will address some of the pre-existing health burdens.” (DOT_0007325.)

        Regional measures include expanding the NYC Clean Trucks Program, which funds the

replacement of diesel trucks with lower-emission electric, hybrid, or other clean vehicles, and

expanding the NYC off-hours delivery program, which incentivizes the reduction in daytime truck

traffic, reduces emissions, and increases safety.              (DOT_0007322–23, DOT_0037016–19,

DOT_0045606–08.) In addition, the adopted toll structure deepened the overnight toll discount,

to “benefit communities along diversion routes, including [EJ] communities, as drivers are less

likely to divert due to the discounted rate.” (DOT_0045606–07.) These measures will provide

tangible emissions reductions and benefit air quality throughout the region. (DOT_0045607.) 15

        Consistent with the EA, Reevaluation 1 also reiterates the Project Sponsors’ commitment

to implementing an adaptive management program that includes “monitoring the efficacy of

mitigation, ongoing stakeholder consultation, and making adjustments as warranted.”

(DOT_0045575.) TBTA has already “begun work with NYC . . . to expand New York City’s

existing air-quality monitoring network” and is gathering data from New Jersey counties; the

Project Sponsors will use this data to evaluate changes in air quality throughout the region and

adjust the tolls where appropriate. (Id.) This approach “provide[s] agencies with the flexibility to

ensure their mitigation measures reflect the real effects of government action, rather than a rigid

adherence to initial projections.” Mulgrew, 2024 WL 3251732, at *42 (collecting cases).

        Accordingly, Reevaluation 1 concluded that, “with the implementation of the mitigation


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   Reevaluation 1 also sets forth a site selection process for implementing the place-based mitigation program,
including engagement with the Environmental Justice Community Group, “relevant communities that warrant place-
based mitigation,” and “local implementing agencies. (DOT_0045610.) This site selection process will include
collection of data, a geospatial analysis, and multiple rounds of community engagement. (DOT_0045610–11.)



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commitments of the Final EA and FONSI, the adopted toll structure would not result in

disproportionately high and adverse effects on environmental justice populations or communities

and no new mitigation is needed.” (DOT_0045613.) Because “[t]he conclusions of the Final EA

with respect to environmental justice remain valid,” FHWA determined that its regulations did not

require it to prepare a supplemental EA. (Id.); see also 23 C.F.R. § 771.129.

           2. Reevaluation 2 Built on the EA and Reevaluation 1 to Analyze the Phase-In
              Approach

       Consistent with the tiering authorized by FHWA’s regulations, and building on the

exhaustive analysis in the EA and Reevaluation 1, Reevaluation 2 was narrowly focused on three

questions regarding the Phase-In Approach: (1) whether the phased implementation of the adopted

toll structure was consistent with the parameters of the tolling scenarios analyzed in the EA; (2)

whether phasing would continue to meet the Program’s purpose and need and objectives; and (3)

whether the effects of phasing would be within the range of effects studied in the EA and

Reevaluation 1, such that the mitigation measures previously adopted would continue to ensure

that the Program would not result in significant adverse effects.

       FHWA first compared the tolling rates and other parameters of each phase of the Phase-In

Approach to those of the seven tolling scenarios evaluated in the EA, noting that the phase in

“exceeds [the] commitment in the Final EA to include ‘further reduced overnight tolls…from at

least 12:00 a.m. to 4:00 a.m.’ by charging overnight tolls from 9:00 p.m. to 5:00 a.m.”

(DOT_0047535.) FHWA found that the tunnel crossing credits were similar to those analyzed in

tolling scenarios C, D, E, and F (applying to tolls paid for the tunnels entering the CBD directly

but not to tolled bridges entering upper Manhattan). (Id.) FHWA also found that exemptions and

limits for each class of vehicles were consistent with one or more of the tolling scenarios in the

EA, and that the Phase-In Approach’s per-trip tolls for taxis and FHVs would, on average, equal



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the EA’s commitment to a once-per-day charge for those vehicles. (Id.) Likewise, while the peak

toll rates for each phase fell within the range analyzed in the EA for each vehicle class, the off-

peak and/or overnight rates were lower, exceeding the EA’s commitment to implement “reduced

overnight tolls at or below 50 percent” by reducing the peak toll rate by 75 percent. (Id.)

       Next, FHWA determined that the Phase-In Approach would meet the Program’s purpose

and need of reducing traffic congestion in the CBD in a manner that will generate revenue for

future transportation improvements. (DOT_0047537.) FHWA found that the toll rates in all

phases of the Program would meet the objectives of reducing VMT by 5% and reducing the number

of vehicles entering the CBD daily by 10%. (Id.) And while the Phase-In Approach would

generate less net revenue in the early years of the Program than the range of scenarios analyzed in

the EA, current interest rates and expected timing of projects meant that these lower annual net

revenues in the early years, in combination with increased revenues in Phase 3, would be sufficient

to meet the objective of funding $15 billion for capital projects and allow their completion on the

same timeline as projected for the March 2024 adopted toll structure. (Id. n.2.) The Project

Sponsors also determined that “an incremental start would have the benefit of helping drivers adapt

more easily to the Program, while monitoring data regarding implementation and effects,” and that

“these benefits outweigh more immediate revenues.” (DOT_0047537–78.)

       Finally, Reevaluation 2 referred to Reevaluation 1’s comprehensive analysis of the effects

of the adopted toll structure, which found that the mitigation commitments in the EA and FONSI

would be sufficient to avoid significant effects. (DOT_0047539; see also DOT_0045452–68;

Point 1.B.) Because the adopted Phase-In Approach’s toll structure would mimic the March 2024

adopted toll structure, just with proportionally lower rates for the first six years (which rates are

still within the range analyzed in the EA), FHWA concluded that “some of the effects of the interim




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phases would by definition be reduced as compared to Phase 3 (such as effects on low-income

drivers)[.]” (DOT_0047539.) Moreover, the mitigation commitments set forth in the EA/FONSI

and Reevaluation 1 would be implemented as previously contemplated and on the same timeline.16

(Id.) Therefore, FHWA determined that while the effects of the Program might have minor short-

term variations in Phases 1 and 2, these effects would be within the range studied in the EA,

FONSI, and Reevaluation 1. FHWA also explained that “the traffic and air quality monitoring

commitments set forth in the EA and FONSI would be implemented throughout this time period,

as well as adaptive management if unexpected adverse effects are revealed through monitoring[.]”

(Id.) Accordingly, FHWA concluded that NEPA had been satisfied, and that “the mitigation

measures identified in the EA and the FONSI are still applicable and will ensure that the Phase-In

Approach, like the March 2024 adopted toll structure, does not result in significant effects.” (Id.)

                C. Plaintiffs’ Challenges to the Reevaluations Are Without Merit

           In many places, Plaintiffs merely complain about the EA analyses that this Court already

upheld, recognizing that the reevaluations used the same methodologies. (See, e.g., Pl. Br. 2–3,

11–12, 17, 27–29.) These challenges, if not already decided, are time-barred and not reviewable

by this Court. Quintieri, 306 F.3d at 1225; Mulgrew, 2024 WL 3251732, at *17.

           Plaintiffs also lodge several meritless objections to the reevaluations. Plaintiffs repeatedly

assert that the $15 base EZPass toll for automobiles in Reevaluation 1 was “never-before analyzed”

because this specific toll rate was not one of the seven alternatives studied in the EA. (Pl. Br. 3,

17.) This Court already rejected this very argument, holding that the “EA’s examination of tolling

scenarios, prior to the TBTA’s adoption of a final tolling structure, did not violate NEPA.”

Mulgrew, 2024 WL 3251732, at *29. The $15 base EZPass toll for automobiles falls squarely


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     Plaintiffs’ assertion that Reevaluation 2 leaves this ambiguous (Pl. Br. 6) is simply wrong.



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within the range studied in the EA (DOT_0045439–40), and as explained in Point I.B, FHWA

reasonably determined that the effects of the adopted toll structure were within the range of impacts

previously studied based on modeling conducted for that structure in Reevaluation 1.

        With brazen disregard for the facts, Plaintiffs argue that Reevaluation 1 “did not fully

appreciate the impact of the changed toll on taxis and [FHVs].” (Pl. Br. 3–4, 9, 12, 17–19.) For

context, the EA and FONSI committed to mitigate potential adverse effects on taxi and FHV

drivers—which are an EJ population—by committing “to adopt a toll structure with a toll of no

more than once per day for taxi and FHV drivers.” (DOT_0045571.) Partially in response to

feedback from Uber advocating for per-ride tolls because they would be more practical and less

likely to encourage intra-CBD cruising (see DOT_0009409), the adopted toll structure included

toll charge rates, passed on to passengers, of $1.25 for taxis and $2.50 for FHVs “per trip with

paying passengers for trips to, within, or from” the CBD. (DOT_0045571.) As the TMRB

explained, this approach furthers the Program’s objectives because “[u]ltimately, it is passengers—

not drivers—who make the choice to add to vehicle congestion in the CBD, despite readily

accessible public transportation to and within the CBD,” and it is they “whose travel patterns must

be influenced to fight congestion in the CBD.” 17

        The charges to taxis and FHVs were included as an input to the BPM and are reflected in

all the modeling results in Reevaluation 1, just like other aspects of the adopted toll structure.

(DOT_0045439–40, DOT_0045571–72.) 18 Moreover, Plaintiffs overstate the impact of this


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  TMRB Report 22 (Nov. 2023), https://new.mta.info/document/127761. Moreover, the New York City Taxi and
Limousine Commission rules “require[] that passengers reimburse the taxi driver for any toll costs during the trip,”
(DOT_0036744), so a per-trip charge rather than a once-per-day charge is more workable.
18
  While Plaintiffs question how the different rates for taxis and FHVs were modeled using the BPM, which treats
them as one vehicle class, the EA and Appendix 4A.1 explained that data on the proportions of taxis and FHVs entering
the CBD were used to model differential treatment through weighted averaging. (DOT_0036344 (describing
“blended” approach); DOT_0004594–95.) The EA also analyzed tolling scenarios with differential treatment of taxis
and FHVs, yet Plaintiffs did not raise this issue until the instant motion.



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refinement. As Reevaluation 1 explained, “[b]ased on the average number of trips taxis and FHVs

make each day, the toll amount for taxis and FHVs is equivalent to the once-daily auto peak rate

in the adopted toll structure of $15.” (DOT_0045571.) In other words, the adjustment will not

alter the amount that taxis and FHVs are charged in the aggregate; it simply reallocates those

charges to each trip to, from, within or through the CBD and facilitates passing such charges on to

the passenger—the party whose behavior must be influenced. (Id.) Thus, Plaintiffs’ unsupported

assertion that “taxis and FHVs may drive as many miles as desired throughout the CBD . . . without

being charged any toll” is simply false. (Pl. Br. 12, 18.) Indeed, the per ride toll eliminates this

very possibility by charging for any passenger ride even if wholly within the CBD, whereas

charging one toll upon entry to the CBD would allow such a possibility. (DOT_0009409.)

       Plaintiffs thus mainly express a policy objection that the adopted toll structure will not

sufficiently deter taxis and FHVs from driving in the CBD. (Id.) However, policy disagreements

of this kind cannot form the basis of a NEPA claim. As this Court previously recognized, “[t]he

political process, and not NEPA, provides the appropriate forum in which to air policy

disagreements.” Mulgrew, 2024 WL 3251732, at *22 (quoting Metro. Edison Co. v. People

Against Nuclear Energy, 460 U.S. 766, 777 (1983)). Apart from the fact that this feature of the

toll structure was adopted to mitigate potential adverse effects on an EJ population,

(DOT_0045571), it is self-defeating that Plaintiffs are suing to block the Program in toto while

simultaneously arguing that the tolls are not high enough to sufficiently reduce congestion.

       Plaintiffs next argue that FHWA failed to properly analyze the deeply discounted overnight

toll—which was adopted as a deepened mitigation commitment to reduce diversions of trucks

driving through the CBD in overnight hours and reduce tolling burdens on late-shift workers—and

the shift from three toll periods (peak, off-peak, and overnight) to two toll periods (peak and




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overnight), which was adopted to simplify the toll structure so that the public can better understand

and anticipate toll amounts. (DOT_0045439–40.) Plaintiffs attempt to minimize the analysis done

by asserting that these changes were not analyzed “[b]eyond re-running the BPM,” and that the

“sole treatment” of these refinements “is a footnote.” (Pl. Br. 12, 17, 27.) Contrary to Plaintiffs’

mischaracterization, these aspects of the adopted toll structure were included as inputs into the

same modeling techniques that this Court has already affirmed. See Mulgrew, 2024 WL 3251732,

at *19, *28–44. Either Plaintiffs do not understand that the adopted toll structure was analyzed as

a whole, not by individual characteristic, or they hope to confuse the Court. Plaintiffs also assert

that the adjustment in peak hours “will necessarily divert more traffic,” (Pl. Br. 17), but

Reevaluation 1 contains a detailed description of the modeling results that showed that impacts on

resource areas like traffic, air quality and EJ were consistent with the EA, and the adopted toll

structure is predicted to largely yield fewer diversions than the EA predicted. See Point I.B.

       Plaintiffs lodge several other objections to the deeply discounted overnight toll, but none

withstand scrutiny. Plaintiffs claim (without providing any basis) that some truck drivers and

named plaintiffs may not take advantage of the overnight toll discount. (Pl. Br. 13.) This anecdotal

prediction is irrelevant. As Reevaluation 1 explained, modeling showed that the reduced overnight

toll will “benefit communities along diversion routes, including environmental justice

communities, as drivers are less likely to divert due to the discounted rate.” (DOT_0045607.) In

short, this feature was modeled as part of the overall toll structure and its effects were analyzed.

       Plaintiffs’ objections to Reevaluation 2 fare no better. Describing Reevaluation 2 as the

“operative reevaluation,” Plaintiffs complain that it did not repeat the traffic and air quality

modeling that was done in the EA and Reevaluation 1. (Pl. Br. 24–25.) But NEPA did not require

FHWA to recreate the wheel at every stage of the tiered environmental review. NEPA regulations




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“permit an iterative approach by allowing agencies to ‘tier their environmental impact statements

and environmental assessments,’ through the preparation of ‘broader environmental impact

statements or environmental assessments’ followed by ‘subsequent narrower statements or

environmental analyses . . . incorporating by reference the general discussions and concentrating

solely on the issues specific to the statement subsequently prepared.’” Mulgrew, 2024 WL

3251732, at *29 (quoting 40 C.F.R. §§ 1501.11(a), 1508.1(ff)). This approach “is ‘appropriate

when it helps the lead agency to focus on the issues that are ripe for decision and exclude from

consideration issues already decided or not yet ripe.’” Id. (quoting 40 C.F.R. § 1501.11(c)(2)).

        That is precisely what FHWA did. As Reevaluation 2 explained, the structure under the

Phase-In Approach “would be the same but the tolls would be lower (but within the range of

scenarios analyzed in the EA) to enable drivers to adjust their budgets and travel modes in a more

graduated fashion.”        (DOT_0047539.)          Based on the exhaustive analysis in the EA and

Reevaluation 1 of the potential effects of scenarios encompassing the characteristics of each phase,

FHWA concluded “that as the implementation progresses through each phase, the effects of the

[Program] may have minor variations but would be within the range of effects” previously studied.

(Id.) This is the essence of tiered review. Mulgrew, 2024 WL 3251732, at *29. 19

        Plaintiffs’ scattershot remaining “hard look” arguments provide no basis to override

FHWA’s expert judgment, which is entitled to deference. Marsh, 490 U.S. at 376–77; Baltimore

Gas & Elec. Co., 462 U.S. at 103. Plaintiffs argue that FHWA used “outdated” data in the EA and

Reevaluation 1, but the Court has already rejected this argument, holding that FHWA “adequately

explained” its data choices, which are “exactly the sort that courts afford agencies discretion to


19
  Plaintiffs also complain that the EJ mitigation program was not “re-evaluated,” (Pl. Br. 18–29, 25), but there was
no need. Reevaluation 2 explained that “mitigation set forth in the EA,” which this Court already upheld, and
reanalyzed in Reevaluation 1 and found sufficient, “would be implemented as previously contemplated—and would
not be deferred until the March 2024 toll structure is fully implemented.” (DOT_0047539.)



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make.” Mulgrew, 2024 WL 3251732, at *36 (internal quotation marks and alternations omitted).20

Plaintiffs simultaneously argue that Reevaluation 1’s length—175 pages excluding appendices—

“alone suggests that the altered tolling structure materially differs from the hypothetical tolls

analyzed in the EA,” yet elsewhere ironically complain that Reevaluation 2 is too short. (Pl. Br.

14, 16–17, 25.) Like others before it, this Court “roundly rejected that facile argument.” Mulgrew,

2024 WL 3251732, at *23, *26 (“Given NEPA’s goal of promoting informed decision making on

matters affecting the environment, it would be perverse to punish the FHWA for exhaustively

analyzing Congestion Pricing.” (internal quotation marks omitted)). Finally, Plaintiffs claim,

wrongly, that FHWA approved Reevaluation 2 “less than a day after MTA asked for a

reevaluation.” (Pl. Br. 25.) The record shows that the Project Sponsors sent FHWA a letter

proposing the Phase-In Approach on November 8, 2024, and provided a draft reevaluation for

FHWA’s review and comment on November 13; FHWA then approved Reevaluation 2 on

November 21. (DOT_0047540–48, DOT_0045720.)

     II.     FHWA’S DECISION TO ISSUE THE REEVALUATIONS RATHER THAN A
             SUPPLEMENTAL EA WAS NEITHER ARBITRARY NOR CAPRICIOUS

        As best we can decipher, Plaintiffs argue that a supplemental EA was required because of

(1) Plaintiffs’ subjective belief that refinements in the adopted toll structure are significant, (2)

unspecified changes in the economy, (3) the adoption of the Phase-In Approach required a

wholesale reconsideration of alternatives, and (4) FHWA’s decision not to prepare a supplement

deprived them of an opportunity for public comment—a claim refuted in Point I.A, supra. None



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  Plaintiffs alternatively complain that FHWA used an updated emissions model (known as MOVES3.1), though they
do not explain why this is a flaw. (Pl. Br. 27.) Reevaluation 1 explained that the newer model was used because the
prior version of the model (MOVES2014b) used for some analyses in the EA was “no longer being updated or
supported for use.” (DOT_0045538.) And while Plaintiffs offhandedly complain that EPA did not provide “public
facing input … as was required in the EA,” (Pl. Br. 27–28), FHWA air quality experts reviewed the analysis and
choice of models. (DOT_0047096–112, DOT_0047140–52.)



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of these undermine the rational basis for FHWA’s decisions.

             A. Plaintiffs’ Subjective Belief That Adjustments in the Adopted Tolling
                Structure Are Significant Does Not Support Their Claim

        Plaintiffs first argue that FHWA was required to prepare a supplemental EA because of

what Plaintiffs characterize as “material[]” differences between the tolling scenarios analyzed in

the EA and the adopted toll structure analyzed in Reevaluation 1. (Pl. Br. 16–20.) Plaintiffs base

this theory on the $15 base EZPass automobile toll, the adjustment to the peak tolling hours and

elimination of the intermediate “off-peak” time period; the choice of crossing credits; 21 and the

way tolls are levied on taxis and FHVs. (Id.) Plaintiffs claim that the “combination” of these

changes mean that the adopted toll structure “deviates too much” from the scenarios analyzed in

the EA. (Id. at 17.) In addition to overstating the differences between the adopted toll structure

and the scenarios studied in the EA (DOT_0045439–40, DOT_0047535–36), this argument is

premised on a fundamentally flawed notion that the magnitude of project changes, rather than

impacts, determines the need for a supplement. Plaintiffs have this backward.

        Whether a supplement is required under NEPA turns not on whether a party subjectively

believes that changes to a project are “significant.” Rather, as discussed in Point I.A, a supplement

is required only if a major federal action remains to occur and “[c]hanges to the proposed action”

or “new information or circumstances relevant to environmental concerns and bearing on the

proposed action would result in significant environmental impacts” not previously evaluated. 23

C.F.R. § 771.130(a) (emphasis added). Thus, a supplement “must be prepared only where new



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   Plaintiffs claim that the crossing credits for passenger vehicles entering certain tunnels under the adopted toll
structure and Phase-In Approach range from $1.50 to $5.00 and that the EA only studied a crossing credit of $13.10.
(Pl. Br. 17.) This is wrong: EA Scenarios A, B and G had $0 crossing credits and Scenario C analyzed a low crossing
credit scenario that included credits below $6.55. (DOT_0004586.) But this is irrelevant in any event because
Reevaluation 1 modeled the crossing credits included in the adopted toll structure and found that the environmental
effects were within the range studied in the EA. See Point I.B.



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information provides a seriously different picture of the environmental landscape.” Friends of

Cap. Crescent Trail, 877 F.3d at 1060 (emphasis in original); see also Marsh, 490 U.S. at 374.

Courts have squarely rejected Plaintiffs’ “know-it-when-you-see-it” approach.                          See, e.g., S.

Trenton Residents Against 29, 176 F.3d at 663 (“[T]he key to whether a Supplemental [EIS] is

necessary is not whether the area has undergone significant change, but whether the proposed

roadwork will have a significant impact on the environment in a manner not previously evaluated

and considered.”); Skinner, 947 F.2d at 657; Arkansas Wildlife Fed’n v. U.S. Army Corps of

Eng’rs, 431 F.3d 1096, 1102 (8th Cir. 2005). 22

         For the same reasons, Plaintiffs’ other proxies for assessing whether the changes are

significant also fail. Plaintiffs argue that FHWA should have prepared a supplemental EA to

analyze asserted (but unspecified) changes in economic conditions, highlighting statements made

by Governor Hochul in June 2024 concerning the cost of the toll on individual drivers. (Pl. Br.

11, 27–28.) They also posit that the short-term reduction in revenue generated in years 1–3 of the

Phase-In Approach “evidenc[es] material differences from the final EA.” (Id. at 26–27.)

         Plaintiffs fail to explain how unidentified “economic issues raised by the Governor in her

June [press statements]” (id. at 28), which merely echoed comments submitted on the EA (see,

e.g., DOT_0003635–42, DOT_0003657), constitute new information implicating significant

impacts—notwithstanding the EA’s comprehensive evaluation of economic effects that Plaintiffs


22
   Plaintiffs attempt to elide NEPA’s focus on environmental impacts by arguing that an agency is required to prepare
a supplement when “a seriously different picture of the overall landscape is presented.” (Pl. Br. 15 (emphasis added),
citing City of Port Isabel v. FERC, 111 F.4th 1198 (D.C. Cir. 2024).) But City of Port Isabel sets forth the general
rule that a supplement is required when there are “new circumstances or information that will affect the quality of the
human environment in a significant manner or to a significant extent not already considered, or that provides a
seriously different picture of the environmental landscape.” 111 F.4th at 1207 (internal quotation marks and citations
omitted) (emphasis added). That case is also distinguishable as it involved analyses conducted on remand from a prior
court decision identifying deficiencies in an EIS. Reviewing the revised analysis following the remand, the D.C.
Circuit held that it should have been published in a supplemental EIS because of material differences in the analysis
and results. Here, by contrast, Plaintiffs challenge a reevaluation of project refinements following a FONSI that was
upheld by this Court, and the agency found no material differences in effects.



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never challenged in their initial attack on the Program. As the Court already held, the Governor’s

policy statements about cost to drivers are not relevant to the question the Court must answer.

Mulgrew, 2024 WL 3251732, at *46. Moreover, Reevaluation 1 studied “the effects of the adopted

toll structure” “on economic conditions at both the regional and neighborhood level,” and found

they were “within the range evaluated in the Final EA.” (DOT_0045523–30.) 23 Nor do Plaintiffs

explain how reduced Program revenues in the Phase-In Approach, a policy they sought to achieve

in their first challenge, could lead to additional impacts. Mulgrew, 2024 WL 3251732, at *27. 24

             B. The Alternatives Analysis Remains Valid

         Contrary to Plaintiffs’ argument, FHWA was not required to prepare a supplement to

“revisit and redevelop” the alternatives analysis. (Pl. Br. 5, 7–8, 16, 21–23, 28.) Plaintiffs argue

that the Phase-In Approach marks “a sea-change” by abandoning what they call the “$1 billion in

toll revenue ‘objective.’” (Id. at 16, 21–23.) But raising $1 billion annually has never been the

single talismanic requirement of the Program. The EA included multiple objectives used to screen

alternatives: (1) reducing daily VMT within the CBD by at least 5%; (2) reducing the number of


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  Plaintiffs cite Hughes River Watershed Conservancy v. Glickman, 81 F.3d 437 (4th Cir. 1996), but that case is
readily distinguishable. There, the court held that an EIS was invalid because it rested on what the agency conceded
was a miscalculation of the economic benefits of a reservoir project (by stating gross rather than net benefits). Id. at
446–48. This case bears no resemblance to Hughes River. Reevaluation 2 concludes the revenue objective for the
Program can still be achieved with the Phase-In Approach.
24
  Plaintiffs rely heavily on Dubois v. U.S. Department of Agriculture, 102 F.3d 1273 (1st Cir. 1996), but to no avail.
In Dubois, the agency adopted a new alternative for a skiing facility that “appear[ed] for the first time in the Final
EIS” and which included “widen[ing] existing trails so as to eliminate buffers,” a new “28,500-square-foot base lodge
facility,” new “ski trails, access roads and lifts on land that the prior alternatives had left as a wooded buffer,” and
required that “four million gallons more water be withdrawn annually for snowmaking.” Id. at 1292–93. The First
Circuit held that the new alternative did “not fall within the spectrum of alternatives that were considered in previous
drafts” and “could very well have environmental impacts that the Forest Service has not yet considered.” Id. (internal
quotation marks omitted). This case is poles apart from Dubois. First, that case involved a project that required an
EIS because significant impacts were projected, and the new alternative could have additional significant impacts.
Whereas the Dubois court found “substantial changes from the previous proposed actions that are relevant to
environmental concerns,” id., here FHWA analyzed the adopted toll structure and found that it was “within the analysis
conducted in” the EA, both in terms of the toll structure itself (DOT_0045439–40), and its environmental impacts, see
Point I.B. Notably, the First Circuit specifically distinguished the case from one in which “the Forest Service had
adopted a new alternative that was actually within the range of previously considered alternatives, e.g., simply
reducing the scale of every relevant particular.” Dubois, 102 F.3d at 1292–93. That is what FHWA concluded here.



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vehicles entering the CBD daily by at least 10%; and (3) creating a funding source for capital

improvements and generating sufficient annual net revenues to fund $15 billion for capital projects

for the MTA Capital Program, as required by the Traffic Mobility Act (the “TMA”).

(DOT_0036198, DOT_0036259, DOT_0036267–68, DOT_0004525–46); N.Y. Veh. & Tr. Law

§ 1704-a(1). Plaintiffs’ selective highlighting of Table 2-2 in their brief obscures the fact that the

first two objectives screened out most of the preliminary alternatives. (Pl. Br. 8; DOT_0036267–

68.) As the EA explained, the “net revenue needed to fund $15 billion depends on a number of

economic factors, including but not limited to interest rates and term”; the $1 billion annual figure

was not a criterion but an estimated amount that could “be invested or bonded to generate sufficient

funds” to generate $15 billion. (DOT_0036301.)

       Reevaluation 2 confirmed that the Phase-In Approach will meet the $15 billion mandate.

(DOT_0047537–38.) The anticipated annual net revenue to support the MTA’s Capital Program

is $0.5 billion in Phase 1, $0.7 billion in Phase 2, and $0.9 billion in Phase 3. (Id.) Although

Phases 1 and 2 would not raise as much annual revenue as the EA tolling scenarios, as part of the

reevaluation process, the MTA’s CFO determined that the revenues derived from the Phase-In

Approach would, in combination and based on current interest rates, still achieve the objective of

funding $15 billion in capital projects and allow their completion on the same timeline as projected

for the March 2024 adopted toll structure. (Id.) This conclusion in no way undermines the EA’s

alternatives analysis, which did not screen out any alternative that would have raised between $500

million and $1 billion for the MTA Capital Program.

       Plaintiffs demand that FHWA “revisit” alternatives such as mandatory carpooling and

rationing license plates (Pl. Br. 7–8), but this Court has already held that “FHWA did not need to

consult an empirical study” to reject these alternatives, because it is “self-evident” that “neither




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measure would raise any revenue.” Mulgrew, 2024 WL 3251732, at *25–26. As alternatives to

the Program (as opposed to supplemental measures), they would not comply with the TMA’s

requirement that the Program provide sufficient revenues to fund $15 billion for capital projects;

this alone is sufficient reason to reject an alternative. See City of N.Y. v. U.S. Dep’t of Transp.,

715 F.2d 732, 743–44 (2d Cir. 1983). The Court has already affirmed the use of the TMA’s

statutory objectives as a “sensible compromise” that “serves the separation of powers by respecting

the democratic legitimacy of legislative judgments” and “ensures federal agencies do not expend

resources examining alternatives that the project sponsors are not legally authorized to

implement.” Mulgrew, 2024 WL 3251732, at *26 (internal quotation marks omitted). 25

         Plaintiffs claim that a supplement is required to evaluate the possibility that the Legislature

could someday appropriate money to support the MTA without the Program. (Pl. Br. 5, 10–11,

16, 28.) No alternative funding sources have been identified, let alone secured. FHWA is not

required to analyze hypothetical or speculative alternatives. See Citizens’ Comm. to Save our

Canyons v. U.S. Forest Serv., 297 F.3d 1012, 1020 (10th Cir. 2002); Norwalk Harbor Keeper v.

U.S. Dep’t of Transp., No. 18 Civ. 0091, 2019 WL 2931641, at *10 (D. Conn. July 8, 2019).

                                                CONCLUSION

         For the reasons set forth above, the Court should deny Plaintiffs’ Motion for Summary

Judgment and grant Defendants’ Cross-Motion for Summary Judgment.




25
   Plaintiffs’ reliance on Alaska Wilderness Recreation & Tourism Association v. Morrison, 67 F.3d 723 (9th Cir.
1995), is misplaced. The court there held that the Forest Service was required to prepare a supplemental EIS because
a statutory amendment eliminated a previous statutory timber supply mandate that had been critical to the alternatives
analysis. Id. at 730–31. Here, by contrast, the TMA has not been amended, and Reevaluation 2 explains that the
adopted toll structure (with the Phase-In Approach) will meet the revenue mandate set in New York law.



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Dated: December 9, 2024
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